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JOHN D. THOMAS, JR. 1415-0

 

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Attorney$ for Plaintiffs
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

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Medical Malpractic@)

PH§L§PPE DE LA COUTURE &Hd
CHANTALLE C. DE LA.COUTURE,

 

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Pl&intiff§, COMPLAINT; SUMMONS
VS.

UNITED STATES OF AMERICA,

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Defendant. §
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for claime for relief against defendant above named,
allege and aver as follows:
COUNT l

1. At all times relevant herein, plaintiffs
Philippe De La Coature and Chantalle C. De La Couture
were domiciled in and citizens of the City and County
of Honolulu, State of Hawaii

2. Chaatalle C. De La Couture is the natural
and legal child cf Philippe De La Coatare.

3. This is a medical malpractice and personal
injury action to recover damages Which arise from
negligent acts amd/or omissions of employees of the
Government of the United States of America, While
acting within the scope of their e§fice ana/or
employmemt, under Circamstances where the Govermment of
the United States of America, if a private §arty, would
be liable to plaietiffs.

4. Jurisdiction is conferred on this Court by

Title 28, United States Code § 1346.

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5. Pursuant to Title 28, Unieed States Ccde,
§§ 2671, et seq., Plaintiff Philippe De La Contare,
acting on his own behalf, filed on August e, 2007 an
administrative claim with the Department cf Veterans
Affairs. The administrative claim was received by the
Department of Veterans Affairs en Angnst 8, 2007.

6. Pursuant to Title 28, United States Code,
§§ 2671, et seq., an amended administrative claim on
behalf of Philippe De La Coctare, and an administrative
claim on behalf of Chantaile C. be La Coature, were
filed with the Department of Veterans Affairs en
February 6, 2008 and received by the Department of
Veterans Affairs on Febraary 8, 2008. Admieistrative
claims on behalf of Philippe be La Contare and
Chantalle C. De La Coutare were filed with the
Department of the Army on Febrnary 28, 2008 and
received by the Department of the Army on Febrnary 29,
2008.

7, The administrative claims were all

referred to the Department of Veterans Affairs. The

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Department of Veterans Affairs denied the
administrative claims on November 18, 2009.

8. At all times relevant herein, defendant
operated medical care facilities in the City and County
of Honolulu, State of Hawaii, including those known as
Tripler Army Medical Center (hereinafter “TAMC”),
through the Department of the Army, and the Spark M.
Matsunaga VA Medical Center (hereinafter “VA Medical
Center”), through tbe Department of Veterans Affairs.

9. Plaintiff §hilippe De La Couture was a
patient of the VA Medical Center where he was followed
and treated for chronic liver disease.

10. On September 2, 2004 Plaintiff Philippe De
sa Coatare underwent abdominal altrasound testing at
TAMC. The ultrasonnd was ordered by Mr. be La
Coatnre’s primary care physician at the VA Medical
Center.

11. The altrasoand study and report identified
a new 2 cm mass in the right lobe of Mr. De ta

Contare's liver. The report stated that the

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differential diagnosis for potential causes of the mass
included hepatocellnlar carcinoma, i.e., liver cancer.

12. §laintiff Philippe De La Conture was not
informed of the 2 cm mass nor of the possibility of
liver cancer.

13. Upon information and belief, the findings
and report of the September 2, 2004 nltrasound were not
communicated by TAMC medical providers to Mr. De ha
Contnre’s VA,Medical Center medical providers.

14. Plaintif§ Yhilippe De La Couture's medical
providers at the VA Medical Center and at TAMC did not
pursue any evaluation, testing or study of the 2 cm
liver mass to determine if it was liver cancer or if
treatment was required at that time for liver cancer.

l§. On September 5, 2006, two years later,
Philippe De La Couture again underwent abdominal
nltrasound testing at TAMC. The nltrasonnd study and
report identified a 5.6 X 4,2 X 4.8 cm mass in the

right lobe of the liver.

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l6. Plaintiff Philippe be La Contnre was
notified of these findings and Mr. De La Couture’s
medical providers at the VA Medical Center and at TAMC
undertoon farther evaluation, testing, study and
treatment of the right lobe liver mass.

l7. On October 2, 2006 a CT scan of the liver
was performed. The radiology report of this CT scan
stated in part:

n 4.9 X 4.1 cm heterogenons mass is visualized

in the right lobe centered in segment 5 {image

53). On ultrasound dated September 2004 this

mass measured approximately 2 cm. 4.. diven

the appearance of the lesion and interval
growth in time frame, findings are diagnostic
of hepatocellular carcinoma.

18. Plaintiff Philippe be La Couture underwent
surgery on December 29, 2006 to remove the right lobe
of his liver. The pathology report of tbe right
hepatic lobe was remarkable for the presence of a 5.2
cm tumor extending to 1 mm of the resection margin.

Focal areas of the tumor were suspicious for

lymphovascular invasion.

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19. Gn December 0, 2008 ?laintiff Pbilippe De
La Couture bad an ortnotopic liver transplant.

Altnougn the transplant procedure was successful, Mr.
De ha Couture's post~operative course nas been
remarkable for a persistent increase in nis serum alpha
fetoprotein {AFP) levels, from 3.4 ng/ml in October,
2008 to 31l2 ng/ml in December 2009. AFP is a marker
for the presence of hepatocellular carcinoma.

20. lt is medically probable that Plaintiff
Pnilippe De La Couture nas developed recurrent liver
cancer following his liver transplant.

21. Numerous imaging studies and scans have
been performed upon Plaintirf Pnilippe De ha Coature in
an attempt to localize his recurrent cancer. Although
there nas been no confirmation of the specific site(s)
of cancer recurrence, it is nearly certain that
§laintiff Pnilippe De La Contnre nas developed
recurrent hepatocellular carcinoma.

22. Tbe more than two year delay from 2004 to

2006 in diagnosis and treatment of Plaintift Pnillppe

 

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De La Couture's hepatocellular carcinoma has
significantly reduced Mr. De La Couture's long~term
survival.

23. The prognosis for recurrent hepatocellnlar
carcinoma following liver transplant is poor. Cure is
unlikely and treatment is primarily palliative.

24. Based upon reasonable medical probability,
had Plaintiff ehilippe De ha Coutnre's hepatocellular
carcinoma been diagnosed in September 2004, when
ultrasound identified a 2 cm lesion suspicious for
hepatocellular carcinoma, appropriate treatment at that
time would have resulted in eradication of Plaintiff
Philippe De La Couture's cancer with nonwrecurrence
during his litetime.

25. Defendant, by and through its agents,
servants and employees, negligently examined,
evaluated, tested, diagnosed, cared for and otherwise
negligently treated Ylaintiff Philippe De La Couture.

26. As a direct and legal and/or proximate

cause of the carelessness, negligence, actions and

 

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omissions of Defendant as aforesaid, Plaintiff §hilippe
De La Couture has suffered severe and permanent
injuries, including delayed diagnosis of liver cancer
and a probable recurrence of his liver cancer.

27. ns a further direct and legal and/or
proximate cause of the carelessness, negligence,
actions and omissions of Defendant as aforesaid,
Plaintiff Philippe De ha Couture has suffered and will
suffer in the future, great physical pain, discomfort,
disfigurement and permanent bodily injuries; and has
suffered, and will suffer in the future, emotional
injuries and distress and mental anguish; and severe
psychological and other disabilities.

28. ss a further direct and legal and/or
proximate cause of the carelessness, negligence,
actions and omissions of Defendant as aforesaid,
Plaintiff Philippe De La Couture has suffered and will
suffer in the future loss of enjoyment of life and the
inability to pursue normal activities of life and will

be unable to pursue activities, including sports,

 

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hobbies, human and family relations, and other
endeavors.

29. ns a further direct and legal and/or
proximate cause of the carelessness, negligence,
actions and omissions of Defendant as aforesaid,
plaintiffs have incurred medical and miscellaneous
expenses, and care costs, and will incur such medical,
miscellaneous and care costs in the future, and will
incur future costs in amounts which are presently
unknown! and ask leave of this Court to show the same
at trial.

30. ss a further direct and legal and/or
proximate cause of the carelessness, negligence,
actions and omissions of Defendant as aforesaid,
Plaintiff Philippe De La Couture has sustained loss of
earnings and has suffered impairment of his earning
capacity, and will sustain future wage losses and/or
impairment of earning capacity, in amounts which are
presently unknown, and ask leave of the Court to show

the same at trial.

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3l. ns a further direct and legal and/or
proximate cause of the carelessness, negligence,
actions and omissions of Defendant as aforesaid,
plaintiff Chantalle C. De ha Couture, as the daughter
of Plaintiff Philippe De La Couture, has suffered, and
will continue to suffer in the future, pecuniary
injury, loss of financial support, loss of love and
affection, society, companionship, comfort, consortium,
protection, parental care and attention, advice,
counsel, loss of parental care, training, guidance and
education, and other benefits of her father, for which
Plaintiff Chantalle C. De La Couture is entitled to
recover damages; and in addition, has suffered and
continues to suffer serious mental anguish and
emotional distress and has been permanently injured,
and said plaintiff is also entitled to recover damages
therefor.

COUNT l l

ll

 

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32. The allegations contained in paragraphs 1
through 31 are realleged and incorporated herein by
reference.

33. At all times relevant herein, the
employees, agents, servants and representatives of TAMC
and the VA Medical Center who examined, diagnosed,
cared for and treated Plaintiff Philippe De ha Couture
Were acting Within the course and scope of their
respective employment, agency and service with TAMC and
the VA Medical Center and therefore With defendant
United States of america; and, therefore, defendant
United States of America is liable to plaintiffs for
the tortious conduct of the ahovemmentioned employees,
agents, servants and representatives as set forth in
this Complaint under the doctrine of respondeat
superior and/or agency principles.

COUN'I' lll

34. The allegations contained in paragraphs l

through 33 are realleged and incorporated herein by

reference.

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35. At all times relevant herein, TAMC and the
VA Medical Center and their employeesr agents, servants
and representatives did hold themselves and their
health care provider employees, agents, servants and
representatives out to members of the general public
and to plaintiffs as possessing that degree of care and
skili ordinarily possessed and exercised by like health
care providers, employees, agents, servants and
representatives.

36. At all times relevant herein, TAMC and the
VA Medical Center impliedly and/or expressly warranted
to plaintiffs that they and their employees, servants,
agents and representatives Would provide competent care
and appropriate treatments and!or services.

37. TAMC and the VA Medical Center breached
their warranties to plaintiffs.

38. as a direct and legal and/or proximate
result of TAMC's and the VA Medical Center’s breaches

of warranties, plaintiffs have snffered, and will

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continue to suffer, the injuries and damages as set

forth herein.

WHEREFORE, plaintiffs demand judgment against

defendant as follows:

E;l .

DATED: Honolulu, Hawaii, January Ql, 2

For general and special damages in amounts
that Will be proven at trial; and
plaintiffs further state that the amount
of their damages as asserted herein falls
Within the jurisdictional requirements of
this Court;

lnterest as allowed by law;

Plaintiffs’ costs of suit and attorneys’
fees; and

Such other and further relief as this

Conrt deems just and proper.

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assn D. rsc§\/;As,;ja.
Attorneys for §laintiffs

   

 

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